
ORDER
Considering the Petition for Permanent Resignation from the Practice of Law in Lieu of Discipline filed by Harold Douglas, and the concurrence thereto filed by the Office of Disciplinary Counsel,
IT IS ORDERED that the request of Harold Douglas for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1.
IT IS FURTHER ORDERED that Harold Douglas shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
/s/ Bernette J. Johnson
Justice, Supreme Court of Louisiana
